              Case 2:21-mj-30522-DUTY ECF No. 1, PageID.1
                                           AUSA:             Filed 11/05/21 Telephone:
                                                    Carl Gilmer-Hill         Page 1 of(313)
                                                                                        20 226-9585
AO 91 (Rev. ) Criminal Complaint            Special Agent:         Andrew Donohue               Telephone: (313) 310-2123

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan
                                                                                         &DVHíPMí
United States of America                                                                 $VVLJQHG7R 8QDVVLJQHG
   v.                                                                                    $VVLJQ'DWH
ͲϭJermaine Arnett                                                      Case No.        'HVFULSWLRQ5(6($/('
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                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of              May 2020- Present              in the county of            Oakland      in the
        Eastern          District of       Michigan       , the defendant(s) violated:
                  Code Section                                           Offense Description
18 U.S.C. § 1028A                                     Aggravated Identity Theft
18 U.S.C. § 1341                                      Mail Fraud
18 U.S.C. § 1342                                      Fraud Using a False Name and Address
18 U.S.C. § 1343                                      Wire Fraud
18 U.S.C. §1344                                       Bank Fraud
18 U.S.C. 1956; 18 USC § 922(g)                       Money Laundering ; Possession of a Firearm by a
                                                      prohibited person
          This criminal complaint is based on these facts:




✔ Continued on the attached sheet.

                                                                                         Complainant’s signature

                                                                      Andrew Donohue - Special Agent
                                                                                          Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:      November 5, 2021                                                                 Judge’s signature

City and state: Detroit. MI                                           David R. Grand - U.S Magistrate Judge
                                                                                          Printed name and title
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                         AFFIDAVIT IN SUPPORT OF
                          CRIMINAL COMPLAINT

      I, Andrew P. Donohue, being first duly sworn, hereby depose and state as
follows:

              INTRODUCTION AND AGENT BACKGROUND

       1.    I am a Special Agent with the U.S. Department of Labor, Office of

Inspector General, Office of Investigations - Labor Racketeering and Fraud

(DOL-OIG/OI-LRF). I have been employed within the DOL since September

2006. I am currently assigned to the Federal Bureau of Investigation’s (FBI)

Organized Crime and Labor Racketeering Task Force located in Detroit, MI.

       2.    I have graduated from the Criminal Investigator Training Program

(CITP) and the Inspector General Investigator Training Program (IGITP) at the

Federal Law Enforcement Training Center (FLETC). I have also received training

in documentary and electronic evidence given by members of the Computer

Crime & Intellectual Property Section (CCIPS) of the U.S. Department of Justice.

       3.    I make this affidavit based upon personal involvement in the subject

criminal investigation, including the review of financial records, utility records,

internet service provider records, property records, law enforcement intelligence

data bases, criminal histories, records from SOM regarding UI claims, search

warrants and subsequent review of seized evidence, and law enforcement

surveillances detailing a large-scale UI fraud scheme perpetrated by Jermaine


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Arnett, Terrance Calhoun Jr., and likely others. I have also been provided with

information from other law enforcement agents and officials from the United

States Secret Service (USSS), the Internal Revenue Service – Criminal

Investigations (IRS-CI) and the State of Michigan’s Fraud Investigation Unit

(SOM-FIU). Because this affidavit is submitted for the limited purpose of

supporting a criminal complaint and arrest warrant, it does not necessarily contain

all information and facts discovered and developed in the course of this

investigation.

      4.     As a result of my participation in this investigation, I submit that

there is probable cause to believe that Jermaine Arnett, Terrance Calhoun Jr., and

others have committed federal crimes, including aggravated identity theft, mail

fraud, fraud using a false name and address, wire fraud, bank fraud, money

laundering, and conspiracy to commit each of the same, as well as firearms

crimes, all in violation of 18 USC §§ 371, 1028A, 1341, 1342, 1343, 1344, 1349,

1956 & 1956(h), 922(g), and 922(k).

                           EXECUTIVE SUMMARY

      5.     Beginning in late May 2020 and continuing through the present,

investigating agents identified a UI fraud ring that was defrauding the States of

Arizona, Maryland, and Michigan of millions of federal dollars earmarked for

Pandemic Unemployment Assistance. Agents have determined that Jermain


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“Maine” Arnett (Arnett), Terrance Calhoun Jr. (Calhoun JR), and likely others yet

unknown, have filed hundreds of false UI claims against these states using only a

handful of Internet Protocol addresses and mailing addresses. The false claims

resulted in Bank of America mailing debit cards loaded with PUA funds to

addresses controlled by Arnett and Calhoun JR. Once in receipt of the debit cards,

the suspects, including Arnett and Calhoun JR, began systematically unloading the

cash by making large cash withdrawals at ATMs located within the Eastern

District of Michigan (EDMI). Finally, during search warrants conducted earlier in

the investigation, agents seized significant evidence of the PUA fraud, as well as

firearms possessed by Arnett and Calhoun JR, both convicted felons.

                         UI – BACKGROUND & COVID-19

      6.     The Social Security Act of 1935 initiated the federal and state

unemployment insurance system. The system provides benefits to individuals who

are unemployed for reasons beyond their control. The purpose of the UI system is

twofold: first, to lessen the effects of unemployment through cash payments made

directly to laid-off workers, and second, to ensure that life necessities are met on a

weekly basis while the worker seeks employment. In the State of Michigan, the UI

system is administered by the Unemployment Insurance Agency.

      7.     State unemployment systems and benefits are joint state and federal

enterprises largely financed by taxes on private employers located in that state. As


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of the time of this application, the federal government is providing significant

supplemental benefits to the states because of the COVID-19 pandemic.

Beginning in or about March 2020 and continuing through the present, the

Families First Coronavirus Response Act (FFCRA); Coronavirus Aid, Relief, and

Economic Security (CARES) Act; and American Rescue Plan Act of 2021

(ARPA) have created federal programs that allowed for the significant outlay of

federal funds flowing to and through the states to offset the historic need for

unemployment benefits by the American workforce, including in the SOM and in

the EDMI. Collectively, these benefits are oftentimes referred to as Pandemic

Unemployment Assistance.

                              PROBABLE CAUSE

      8.     In the summer of 2020, records from the nation’s State Workforce

Agencies detailed that three addresses located in Pontiac, MI, were listed on a

significant number of PUA claims filed nationwide. Agents learned that the

addresses 21 Charles Lane, Pontiac, MI 48341 (21 Charles Lane), 148 Charles

Lane, Pontiac, MI, 48341 (148 Charles Lane), and 438 Kenilworth Avenue,

Pontiac, MI 48341 (438 Kenilworth) were listed as the mailing address on over

500 PUA claims filed across the United States beginning in the Spring of 2020,

including PUA claims against SOM, the State of Maryland, and the State of

Arizona.


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      9.     Further scrutiny of the claim data revealed that over of 200 of the

claims originated from a single IP address: 73.145.12.205 (IP 205). Comcast

records detailed that IP 205 was statically assigned to the residence located at 21

Charles Lane.

      10.    Around this time, agents also received information from Bank of

America (BOA) identifying what they believed to be a criminal network operating

in the Pontiac, MI, area involving 503 prepaid cards. BOA further disclosed that

the network appeared linked by common residential addresses at 21 Charles Lane,

148 Charles Lane, and 438 Kenilworth Ave, as over 400 BOA cards had been

issued that were associated with those addresses. Agents note that, MI, AZ, and

MD, have arrangements with BOA to provide UI benefits in a pre-loaded debit

card that BOA mails to the claimant using the U.S. Postal Service.

      11.    BOA disclosed that between April 29, 2020, and July 1, 2020, the

503 cards were funded with over $4 million in ACH credit loads from three states,

AZ, MI, and MD. BOA also noted that Maryland later unloaded and reversed

over $2.5 million of that amount from the recently funded cards, suggesting that

the state became aware of activity and took action to mitigate their losses.

      12.    BOA also disclosed that Between May 1, 2020, and July 13, 2020, a

total of $1,735,620.55 in purchases and cash withdrawals were made via this




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network of cards. The majority of the depleted funds were withdrawn at BOA

ATMs located in Troy, Bloomfield Hills and Rochester Hills, MI.

      13.    Agents reviewed financial records provided by BOA and determined

that of the $1,735,620.55 identified above, at least $1,477,570 was withdrawn in

cash via BOA ATMs. Agents identified over 1,500 separate ATM withdrawals

made on over 190 cards between May 1, 2020 and July 13, 2020 to account for the

over $1.4 million in cash obtained. Analysis of the ATM withdrawals also showed

that the events occurred typically in the early morning, involved the use of

multiple cards in a 5 to 30 minute period, and that the majority of the withdrawals

were for a $1,000.

                                     Jermaine Arnett

      14.    The pictures below include ATM surveillance photos taken between

May and July 2020 relating to financial transactions on BOA cards tied to the

scheme. Agents identified the individual in the photos as Jermaine Arnett.

Agents specifically note that none of the financial transactions or cards associated

with the images below are in the name of Arnett:




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                                  Known photo of Arnett:




                                      ATM Photos:




The image above was captured on May 23, 2020 at approximately 8:02 am at an ATM located in

 Pontiac, MI. BOA records detail that a $900 cash withdrawal was made on BOA card ending

2865 in the name of “ALEXANDYR FETZER.” The mailing address associated with the card is

                                     438 Kenilworth.




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The image above was captured on June 9, 2020 at approximately 10:15am at an ATM located in

 Pontiac, MI. BOA records detail that a balance inquiry was made utilizing BOA card ending

#9908 in the name of “ALEXUS APPLEGATE.” The mailing address associated with the card is

                                     21 Charles Lane.



       15.    Arnett’s criminal history details that he has been convicted of

multiple crimes, including felony convictions that disqualified him from owning

or possessing firearms. A selection of those crimes is detailed below:

          a. November 2009: a felony conviction in Michigan’s 6th District Court

             for possessing less than 25 grams of a controlled substance (cocaine,

             heroin, or another narcotic) in violation of MCL 333.74032A5.

          b. April 2012: 3 felony convictions in Michigan’s 6th District Court for

             possessing less than 50 grams of a controlled substance (cocaine,

             heroin, or another narcotic). All three counts were in violation of

             MCL 333.74032A4.

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        c. September 2013: another felony conviction in in Michigan’s 6th

              District Court for possessing less than 50 grams of a controlled

              substance (cocaine, heroin, or another narcotic) in violation of MCL

              333.74032A4.

        d. October 2017: another felony conviction in Michigan’s 6th District

              Court for possessing less than 25 grams of a controlled substance

              (cocaine, heroin, or another narcotic) in violation of MCL

              333.74032A5.

      16.     In September 2020, investigating agents applied for, obtained, and

executed search warrants at 21 Charles Lane, 148 Charles Lane, and 438

Kenilworth.

      17.     While executing the warrants detailed above, investigating agents

encountered Arnett at 438 Kenilworth. During the search of 438 Kenilworth,

Agents seized the following noteworthy items:

        a. A T-Shirt bearing the image of Elvis Presley. Agents note that Arnett

              appears in the same T-Shirt in the ATM photos above. An evidence

              photo of the seized shirt appears below:




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        b. Multiple pre-paid BOA bank cards from the State of Maryland.

            Agents note none of the cards are in Arnett’s name.

        c. Numerous other Visa and Mastercard pre-paid, debit, and credit cards.

        d. A Smith & Wesson .45 Shield Handgun with altered/obliterated serial

            number HXL0585. The firearm was found in a bedroom closet

            amongst men’s clothing, including a pair of men’s Haynes underwear.

            Agents also found the Elvis Presley T-Shirt detailed above in the very

            same closet. Agents note that at the time agents executed the warrant,

            Arnett was the sole male resident at the address.

      18.   Based on my training and experience, and open source information

available surrounding the manufacture of Smith & Wesson firearms, I know that

Smith & Wesson does not manufacture firearms within the State of Michigan.

Instead, Smith & Wesson manufactures its “Shield” line of firearms at its factory




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located in Springfield, MA. This is all to say that at some point in its lifespan, the

firearm was transported across state lines.

                               Terrance Calhoun Jr.

      19.    During the investigation, agents identified another individual

involved in the scheme, Terrance Calhoun Jr. Like Arnett, Calhoun JR was

identified, in-part, by ATM surveillance footage related to the scheme; a selection

of that footage is detailed below. Agents specifically note that none of the

financial transactions or cards associated with the images below are in the name of

Calhoun JR. The investigation also showed that Calhoun JR lived at 21 Charles

Lane and controlled IP205.

                           Known photo of Calhoun JR:




                                       ATM Photos:




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      20.    Calhoun JR’s criminal history details that he has been convicted of

crimes, including a 2015 Georgia felony conviction for identity theft that

disqualified him from owning or possessing firearms.

      21.    During the search of 21 Charles, Agents seized the following

noteworthy items:

        a. Dozens of Visa, PayPal, Go Bank, and Chime credit and debit cards in

            names other than Calhoun JR’s.

        b. Notebooks and spreadsheets containing hundreds of instances of PII,

            including PII related to false PUA claims field in the case.

        c. Multiple $10,000 cash bands and a cash counting machine.

        d. A Lorcin pistol model L380 serial # XXXX60 and a Bersa/AEI

            Thunder 380 serial # XXXX77 w/ pink Crimson Trace laser grips.

      22.    Based on my training and experience, and open source information

available surrounding the manufacture of both Lorcin and Bersa firearms, I know

that neither company manufactured firearms within the State of Michigan. Lorcin


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is a defunct firearms manufacturer that was based out of California while Bersa is

a South American based company. This is all to say that at some point in their

respective lifespans, these firearms were transported across state lines.

      23.    Calhoun JR subsequently admitted to agents that he had agreed with

others to engage in a scheme to defraud multiple U.S. States of PUA benefits.

Per Calhoun JR, as part of the scheme, he filed false PUA claims against the

nation’s UI systems using stolen identities. The group used Calhoun JR’s Wi-Fi

internet connection to file the claims and used Calhoun JR’s address (21 Charles

Lane) as the mailing address to receive the cards. Calhoun JR also admitted to

knowing he was prohibited from possessing a firearm and acknowledged that the

firearms seized at 21 Charles Lane were his weapons.

               Mail Fraud, Fraud Using False Name and Address,

                     Bank Fraud & Aggravated Identity Theft

      24.    With respect to the use of U.S. Mail, the outlay of PUA funds

described above involved hundreds of PUA claims and BOA bank accounts

created using names, social security numbers and other means of personal

identification other than the names, social security numbers and personal

identifiers of Arnett and Calhoun JR. The financial information for the PUA

claims and the associated bank accounts detail that many of the claims paid via




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Bank of America debit cards were mailed to either 21 Charles Lane or 438

Kenilworth Avenue via the U.S. Postal Service.

      25.        Through this and other PUA investigations, I learned that BOA, a

federally insured financial institution, utilizes a unique routing number for PUA

claims issued by Michigan and Maryland and mails debit cards pre-loaded with

funds for such PUA claims via the U.S. Postal Service to the particular physical

address associated with the claim.

      26.        Listed below are 12 instances where BOA mailed, via the U.S. Postal

Service, pre-loaded debit cards loaded with over $1,000 in PUA funds that had

been in the custody and control of BOA to 438 Kenilworth, the address where

agents encountered Arnett during the execution of a search warrant and as to

which a false name and/or address appears to have been used to create the

associated PUA claim.

    Claim Date    State      SSN        First Name        Last Name   Amount Paid   Mailing Address

     5/8/2020      MI     xxx-xx-0142   Sean              Fxxxxx          $4,560    438 Kenilworth Ave

    5/12/2020      MI     xxx-xx-3536   Mark              Fxxxxx          $5,480    438 Kenilworth Ave

    5/12/2020      MI     xxx-xx-2391   Eleanor           Fxxxxx          $5,480    438 Kenilworth Ave

    5/14/2020      MI     xxx-xx-1871   Yrume             Fxxxxx          $5,480    438 Kenilworth Ave

    5/14/2020      MI     xxx-xx-0542   Kayla             Fxxxxx          $5,480    438 Kenilworth Ave

    5/15/2020      MI     xxx-xx-3379   Alexandyr         Fxxxxx          $4,720    438 Kenilworth Ave

     6/1/2020      MD     xxx-xx-5712   Dannie            Dxxxxx         $10,990    438 Kenilworth Ave

     6/1/2020      MD     xxx-xx-0816   Darryl            Dxxxxx         $10,990    438 Kenilworth Ave



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    6/1/2020     MD    xxx-xx-4127   Destiny        Dxxxxx       $14,080   438 Kenilworth Ave

    6/1/2020     MD    xxx-xx-3423   Diamond        Dxxxxx       $14,080   438 Kenilworth Ave

    6/1/2020     MD    xxx-xx-8403   Mykalah        Dxxxxx       $10,990   438 Kenilworth Ave

    6/2/2020     MD    xxx-xx-8103   Ryan           Dxxxxx       $10,990   438 Kenilworth Ave




      27.      Listed below are 10 instances where BOA mailed, via the U.S. Postal

Service, pre-loaded debit cards loaded with over $1,000 in PUA funds that had

been in the custody and control of BOA to 21 Charles Lane, the address agents

connected to Calhoun JR through the execution of a search warrant and as to

which a false name and/or address appears to have been used to create the

associated PUA claim.

Claim Date     State   SSN            First Name     Last Name      Amount Paid     Address
 6/9/2020       MD     xxx-xx-2621    MATTHEW        Exxxxx             $1,720      21 CHARLES LN
6/18/2020       MD     xxx-xx-3123    SCOTT          Dxxxxx            $13,050      21 CHARLES LN
6/17/2020       MD     xxx-xx-0022    CHERONNE       Wxxxxx            $13,050      21 CHARLES LN
6/23/2020       MD     xxx-xx-5255    NATHALIA       Vxxxxx            $14,080      21 CHARLES LN
6/30/2020       MD     xxx-xx-0130    AMBER          Wxxxxx            $15,110      21 CHARLES LN
6/27/2020       MD     xxx-xx-9208    EVERETT        Sxxxxx            $14,080      21 CHARLES LN
5/15/2020       MI     xxx-xx-6282    AMBER          Fxxxxx             $5,480      21 CHARLES LN
5/11/2020       MI     xxx-xx-0777    JAY            Fxxxxx             $4,720      21 CHARLES LN
5/13/2020       MI     xxx-xx-3550    NICHOLAS       Fxxxxx             $5,480      21 CHARLES LN
 5/9/2020       MI     xxx-xx-4078    MEKYLE         Fxxxxx             $4,560      21 CHARLES LN




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                                   Wire Fraud

      28.    As referenced above, the source of the fraudulent funds in this

investigation is PUA funds derived from claims filed in the states of Michigan,

Maryland, and Arizona using each states’ State Workforce Agency (SWA). The

United States Department of the Treasury (Treasury) has advised that it disburses

PUA funds to the SWAs through Treasury’s program entitled Automated Standard

Application for Payments, commonly referred to as “ASAP.” ASAP is an

electronic system that federal agencies use to securely transfer money to recipient

organizations. SWAs have accounts in ASAP, from which it may draw funds to

make payments to individual recipients. Before being able to draw down those

funds, the funds must first be placed in the SWA’s ASAP account. Federal

agencies use Treasury’s asap.gov site to self-create and fund the SWA’s ASAP

account. The flow of funds from the ASAP account to the SWA’s bank account

always occurs in one of two electronic payment methods: an Automated

Clearinghouse payment, commonly referred to as an “ACH,” or by another

electronic service operated by the Federal Reserve Bank (FRB) system called

Fedwire. Once the SWA makes this request, the Treasury Web Applications

Infrastructure (commonly referred to as the TWAI) routes the funds through one

of two Operations Centers, either the Dallas Operations Center (DOC) located in

Dallas, Texas, or the East Rutherford Operations Center (EROC) located in East

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Rutherford, New Jersey. The payment path always includes routing through one

of these two centers for processing. This is one way in which interstate wires

were used in this case.

        29.        As detailed herein, agents determined that Comcast static IP address

IP 205 was assigned to 21 Charles and filed hundreds of fraudulent claims. Listed

below is a sample of claims filed by that Michigan-based IP address against the

State of Maryland’s computer systems. Agents note that each claim lists 438

Kenilworth or 21 Charles Lane as the mailing address. This is another way in

which wires and signals were used across state lines in the fraud.

State         IP              Mailing Address      SSN           First Name   Last Name   Amount
MD            73.145.12.205   438 Kenilworth       xxx-xx-7494   AQUIL        F-----       $8,930
MD            73.145.12.205   438 Kenilworth       xxx-xx-3550   NICHOLA      F-----      $10,990
MD            73.145.12.205   438 Kenilworth Ave   xxx-xx-8103   RYAN         D-----      $10,990
MD            73.145.12.205   21 Charles Ln        xxx-xx-7262   Sean         F-----      $32,272
MD            73.145.12.205   21 Charles Ln        xxx-xx-9941   Arielle      F-----      $32,766
MD            73.145.12.205   21 Charles Ln        xxx-xx-2591   Maracela     R-----      $27,028




                                          Money Laundering

        30.        The investigation identified over 500 PUA claims listing the

addresses cited above which resulted in the issuance and mailing of pre-paid debit

bankcards from BOA (a financial institution) funded with over $4 million ACH

credit loads that had been wired through interstate commerce from the States of

Arizona, Maryland, and Michigan in less than a three-month span, between April


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and July 2020. The financial records obtained also show at least $1,477,570 was

withdrawn in cash via BOA ATMs in over 1,500 separate ATM withdrawals

made on over 190 cards during that same timeframe. It is through this conversion

of the proceeds of the fraud to cash that the co-conspirators conceal and disguise

the true source of the fraudulent funds. Through my time in the DOL and through

investigating multiple PUA fraud cases, I know that the utilization of cash by

fraudsters allows them to avoid using credit/debit cards in the names of others

(many times issued by other States), which can and do raise significant questions

by the vendors with which the fraudsters seek to do business.




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                                     Conclusion

        31.    Based on the forgoing, there is probable cause to believe that

 Jermaine Arnett and Terrance Calhoun JR have committed federal crimes,

 including aggravated identity theft (18 U.S.C. § 1028A), mail fraud (18 U.S.C.

 § 1341), fraud using a false name and address (18 U.S.C. § 1342), wire fraud (18

 U.S.C. § 1343), bank fraud (18 U.S.C. § 1344), money laundering (18 U.S.C.

 1956), and conspiracies to commit each of those acts (18 U.S.C. § § 371 &

 1956(h)), as well as federal crimes of being a felon in possession of a firearm (18

 U.S.C. § 922(g)), and, specifically as to Jermaine Arnett, knowingly possessing a

 firearm with an altered/obliterated serial number (18 USC § 922(k)).


                                           Respectfully submitted,




                                           __________________________
                                           ___
                                             ____
                                                ________ ______________
                                           Andrew
                                           And
                                             drew Donohue
                                           Special Agent
                                           United States Department of Labor
SZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


______________________________________
Honorable David R. Grand
UNITED STATES MAGISTRATE JUDGE
November 5, 2021



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